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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA,                          §
                                                   §
                                                   §
                                                   §
v.                                                 §                          No. 4:22-CR-00612-S
                                                   §
                                                   §
                                                   §
EDWARD CONSTANTINESCU, et al.                      §
                                                   §

                  DEFENDANT EDWARD CONSTANTINESCU’S
             MOTION TO COMPEL DISCLOSURE OF BRADY MATERIAL

       Defendant Edward Constantinescu (“Constantinescu”) respectfully requests an order

requiring the government to disclose Form 1099-Bs for each Defendant and each Co-Conspirator

from every brokerage used to trade securities during the relevant time-period of the Indictment.

This Brady material so substantially undermines the conspiracy charged against all Defendants

that its immediate fulsome disclosure is necessary to either elucidate the already-occurred

existence of or prevent the realization of a significant constitutional violation. For over six months

now, the government has failed to produce financial records equivalent to a glove with somebody’s

blood other than the defendants’ on it. The Court should order their immediate production.

                                       RELEVANT FACTS

       The Indictment charges Constantinescu with (1) one count of conspiracy to commit

securities fraud (18 U.S.C. § 1349), along with seven other defendants; (2) five counts of securities

fraud (18 U.S.C §§ 1348 & 2), in connection with 5 identified securities; and (3) one count of

engaging in monetary transactions in property derived from specified unlawful activity (18 U.S.C.
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§ 1957).1 Paragraph one alleges “the defendants profited at least approximately $114 million from

their scheme.” And, with respect to the alleged conspiracy, the Indictment identifies two

individuals as co-conspirators: “Co-Conspirator-1” and “Co-Conspirator-2.” Indictment, ¶¶ 17, 49,

56,

        Following the government’s filing of the Original Indictment, it was ordered on December

16, 2022, “to comply with the prosecutor's disclosure obligations under Brady v. Maryland, 373

U.S. 83 (1963), and its progeny,” and was notified of the potential consequences of violating its

disclosure obligations including but not limited to “sanctions such as delaying trial or other

proceedings, excluding evidence, giving adverse jury instructions, granting a new trial, dismissing

the case, or finding the Government in contempt.” [ECF 42]. On February 16, 2023,

Constantinescu submitted a letter to the government requesting particulars concerning the

allegations in the Indictment. Through that letter, Constantinescu asked the government to clarify

its allegations with respect to, among others, the Defendants’ alleged conspiracy. Then, on March

1, 2023, Constantinescu submitted a letter to the government requesting prompt production of all

Brady material and identifying general and specific categories of information covered by Brady,

including: “Any and all Documents or Information tending to exculpate Mr. Constantinescu,

and/or statements in sum and substance that Mr. Constantinescu did not engage in a conspiracy.”

Eight days later, on March 8, 2023, after a requested update from counsel for Constantinescu, the

government stated: “With respect to the Brady requests, we understand our discovery obligations,

have complied with them, and will continue to do so. With respect to the rest of your requests, we

otherwise decline to disclose the requested information at this time.”


1
 Constantinescu currently has two outstanding motions to dismiss. His Motion to Dismiss Count 21 was argued on
March 14, 2023 and the Court has taken it under advisement. His Joint Motion to Dismiss covering Counts 1, 2, 14,
15, 18, and 20 was filed on May 10, 2023.



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        At the end of March, the government shared a spreadsheet listing stock tickers and time

frames not mentioned in the Indictment that purportedly represent 402 discreet “pump and dumps”

Constantinescu allegedly conspired to commit on Twitter in violation of 18 U.S.C. § 1349. The

government also promised that by June 5, 2023 it would produce expert reports detailing its profits

calculations and identifying all “false and misleading statements” relevant to the underlying profit

calculation for the conspiracy charge, [ECF 234 at 4, citing Ex. 2], but has not done so yet. To

date, the government’s production includes thousands of pages of trade records reflecting

purported trading activity for each Defendant but does not include Form 1099-Bs for

Constantinescu or any of the Defendants/Co-Conspirators.2

                                                ARGUMENT

    A. Legal Standard

        The Fifth Amendment requires the prosecution to disclose to the defense all evidence in its

possession, custody, or control that is favorable to the accused. See Brady v. Maryland, 373 U.S.

83, 87 (1963) (requiring disclosure of exculpatory evidence “material either to guilt or

punishment”). Although it is sometimes said that Brady “is not a pretrial remedy,” United States

v. Garrett, 238 F.3d F.3d 293, 303 (5th Cir. 1996) (Fish, J., concurring), it is well established that

“the Brady rule requires the prosecution to disclose material exculpatory evidence prior to trial,

whether or not the defense specifically requested the evidence,” United States v. O'Keefe, No. 95-

106, 1996 U.S. Dist. LEXIS 12268, at *69-70 (E.D. La. Aug. 15, 1996). The “question before trial

is not whether the government thinks that disclosure of the information or evidence it is




2
  The production does appear to include a couple of Form 1099-Bs for Constantinescu from other brokerages, but is
certainly missing his and the other Defendants/Co-Conspirators’ TD Ameritrade Form 1099-Bs. Because the
Defendants’ alleged trading activity was done through multiple platforms, Constantinescu requests production of all
Form 1099-Bs for each Defendant and Co-Conspirator from each brokerage used by the Defendants/Co-Conspirators
to trade securities during the relevant time period.


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considering withholding might change the outcome of the trial going forward, but whether the

evidence is favorable and therefore must be disclosed. . . . Where doubt exists as to the usefulness

of the evidence to the defendant, the government must resolve all such doubts in favor of full

disclosure.” United States v. Safavian, 233 F.R.D. 12, 16 (D.D.C. 2005).

       District courts are not only entitled, but also well positioned to question “the government's

representations as to what documents in its possession” constitute Brady material. United States v.

Lloyd, 992 F.2d 348, 352 (D.C. Cir. 1993). If, for example, the government's discovery positions

“appear[] likely to [be] based on a misconception as to how” certain evidence “might be material”

under Brady, a district court is entitled to order that the evidence be “turned over to the defense.”

Id. In addition, the United States Supreme Court has made the government's burden under Brady

clear: “[T]he individual prosecutor has a duty to learn of any favorable evidence known to the

others acting on the government's behalf in the case, including the police.” Kyles v. Whitley, 514

U.S. 419, 438 (1995). Finally, Federal Rule of Civil Procedure 16(a)(1)(E) provides: “Upon a

defendant's request, the government must permit the defendant to inspect and to copy or

photograph . . . documents. . . if the item is within the government's possession, custody, or control

and: (i) the item is material to preparing the defense . . .” Fed. R. Crim. P. 16


   B. Form 1099-B

       A tax Form 1099-B (Proceeds from Broker and Barter Exchange Transactions) is used by

securities brokerages to record customers’ gains and losses during a tax year.3 Information on each

Form 1099-B includes: (i) the issuer’s information, (ii) the taxpayer’s information, (iii) a

description of each investment, (iv) the purchase date and price, and (v) the resulting gain or loss.4


3
   Adam Barone, Form 1099-B: Proceeds From Broker and Barter Exchange Transactions Definition,
Investopedia.com, Feb. 2, 2023, https://www.investopedia.com/terms/f/form-1099-b.asp.
4
  Id.


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The forms effectively include summaries concerning the taxpayer’s trading activity in a particular

company. Here is an example of one such summary excerpted from a Form 1099-B that

Constantinescu personally downloaded from TD Ameritrade (which was not produced by the

government):




       Unlike the thousands of pages of trade records dumped on Constantinescu by the

government, a Form 1099-B includes “cost or other basis,” making it easy to accurately determine

how much was made or lost on each particular trading day. The form also conveniently identifies

the total gain or loss for trading in a company for the full tax year. As shown in the example above,

Constantinescu lost approximately $4.6 million in ContextLogic Inc. (WISH) in 2021. The

information included in the Form 1099-Bs simply displays the Defendants’ pertinent trading

activity in a coherent format.

       By contrast, this critical information cannot be readily ascertained from the thousands of

pages of trade records with extensive entries, standing alone. In this respect, the trade records

produced by the government are virtually incomprehensible. And, because Constantinescu is

alleged to have engaged in a conspiracy in a manner inherently tied to his own and others’ trading

activity, production of every Defendant and Co-Conspirator’s 1099-Bs is necessary in order for

the government to satisfy its Brady disclosure obligations.

                                         CONCLUSION




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       For these reasons, Defendant Constantinescu respectfully requests that this Court grant this

Motion to Compel Disclosure of Brady Material and order the government to produce to every

Form 1099-B for each Defendant and Co-Conspirator from every brokerage used to trade securities

during the relevant time period.



Dated: June 6, 2023                                         Respectfully submitted,

                                                            /s/ Matthew A. Ford
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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 6, 2023, a true and correct copy of the foregoing document

was served electronically on all counsel of record via the Court’s CM/ECF.

                                                          /s/ Matthew A. Ford
                                                          Matthew A. Ford




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